   Case: 1:18-cv-03424 Document #: 41 Filed: 10/31/18 Page 1 of 3 PageID #:1130



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINIOS,
                                 EASTERN DIVISION

Protect Our Parks, Inc.; Charlotte Adelman;       )
Maria Valencia and Jeremiah Jurevis;              )     No. 18-cv-03424
              Plaintiffs,                         )
v.                                                )     Honorable John Robert Blakey
                                                  )
Chicago Park District and City of Chicago,        )     Jury Demanded
             Defendants.                          )

                     CERTIFICATE OF SERVICE OF DISCOVERY

       This will certify that I have this day caused to be served a copy of Plaintiffs’

Second Request To Produce to the Chicago Park District, and Plaintiffs’ Second Request

To Produce to the City of Chicago, all by email transmission from mark@rothfioretti.com to

the following persons at their email addresses shown below on or before 5:00 pm. on October

31, 2018.



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  Case: 1:18-cv-03424 Document #: 41 Filed: 10/31/18 Page 2 of 3 PageID #:1131




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   Case: 1:18-cv-03424 Document #: 41 Filed: 10/31/18 Page 3 of 3 PageID #:1132




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Respectfully submitted this 31st day of October, 2018.

                                                                   /Mark D. Roth/
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                                    PROOF OF SERVICE

I, Mark D. Roth, an attorney, certify that I served this Certificate Of Service Of Discovery via
ECF notification to parties of record on October 31, 2018 before 5:00 p.m.


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